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        [Additional Counsel on Signature Page]
   10
        Plaintiffs’ Co-Lead Counsel
   11

   12                        UNITED STATES DISTRICT COURT
   13                      CENTRAL DISTRICT OF CALIFORNIA
   14

   15   IN RE: NATIONAL FOOTBALL                 Case No.: 2:15-ml-02668−PSG (JEMx)
        LEAGUE’S “SUNDAY TICKET”
   16   ANTITRUST LITIGATION
   17
                                                 PLAINTIFFS’ NOTICE OF
   18   THIS DOCUMENT RELATES TO ALL             MOTION AND MOTION FOR
        ACTIONS                                  CLASS CERTIFICATION
   19
                                                 JUDGE: Hon. Philip S. Gutierrez
   20                                            DATE: December 16, 2022
                                                 TIME: 1:30 p.m.
   21                                            COURTROOM:
                                                     First Street Courthouse
   22                                                350 West 1st Street
                                                     Courtroom 6A
   23                                                Los Angeles, CA 90012
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    1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
    2            PLEASE TAKE NOTICE that on December 16, 2022, at 1:30 p.m., or as
    3   soon thereafter as counsel may be heard, in the courtroom of the Honorable Philip
    4   S. Gutierrez, Chief United States District Judge, Courtroom 6A, United States
    5   Courthouse, 350 West 1st Street, Los Angeles, CA 90012, Plaintiffs will and
    6   hereby do move pursuant to Rule 23 of the Federal Rules of Civil Procedure for an
    7   order certifying two classes regarding Plaintiffs’ claims defined as follows:
    8            Commercial Class. All DirecTV commercial subscribers that
    9            purchased the NFL Sunday Ticket from DirecTV, or its subsidiaries,
   10            at any time between June 17, 2011 and the date of the Court’s class
   11            certification order (“Commercial Class”). The Commercial Class
   12            excludes the Defendants and any of their current or former parents,
   13            subsidiaries, or affiliates. The Commercial Class also excludes all
   14            judicial officers presiding over this action and their immediate family
   15            members and staff, and any juror assigned to this action.
   16            Residential Class. All DirecTV residential subscribers that purchased
   17            the NFL Sunday Ticket from DirecTV, or its subsidiaries, at any time
   18            between June 17, 2011 and the date of the Court’s class certification
   19            order (“Residential Class”). The Residential Class excludes the
   20            Defendants and any of their current or former parents, subsidiaries, or
   21            affiliates. The Residential Class also excludes all judicial officers
   22            presiding over this action and their immediate family members and
   23            staff, and any juror assigned to this action.
   24            Plaintiffs also hereby move the Court to appoint Plaintiffs Ninth Inning Inc.,
   25   dba The Mucky Duck, and 1465 Third Avenue Restaurant Corp., dba Gael Pub, as
   26   class representatives for the Commercial Class, and Plaintiffs Robert Gary
   27   Lippincott, Jr. and Jonathan Frantz as class representatives for the Residential
   28   Class.


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    1         Plaintiffs further move the Court to appoint Marc M. Seltzer and Susman
    2   Godfrey L.L.P., Scott Martin and Hausfeld LLP, and Howard Langer and Langer,
    3   Grogan & Diver P.C. as class counsel for both the Commercial Class and
    4   Residential Class pursuant to Rule 23(g) of the Federal Rules of Civil Procedure.
    5         This motion for class certification is based upon this notice, the concurrently-
    6   filed memorandum of points and authorities, the exhibits and declarations
    7   submitted in connection thereto, the pleadings, documents, and records on file in
    8   this action, any argument that may be presented to the Court on this motion, and
    9   such other matters as the Court deems appropriate.
   10         This motion is made following the conference of counsel pursuant to the
   11   meet and confer requirements of Local Rule 7-3 that took place on August 15,
   12   2022. 1
   13
            Dated: August 19, 2022             Respectfully submitted,
   14

   15                                          By:      /s/ Marc M. Seltzer
   16                                                   Marc M. Seltzer

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         Due to the unavailability of defendants’ counsel to hold the meet and confer on
   28   August 12, 2022, the parties agreed to conduct the meet and confer on August 15,
        2022. Plaintiffs have been advised by the NFL Defendants that they agree that the
        parties have complied with Local Rule 7-3.
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